MARCH 24,2009

SHERIFF NEWELL NORMAN,

IAM WRITING YOU TO LET YOU KNOW HOW IMPRESSED I WAS
WITH THE DEDICATION TO DUTY OF DEPUTY CHAD PITFIELD.

HE WAS ON DUTY FOR THE ST. PATRICK’S PARADE, 03/15/09, ON
METAIRIE ROAD NEAR LABARRE ROAD. I WAS STANDING BY THE REVIEWING
STAND AT THIS LOACTION. THERE WERE SEVERAL OTHER DEPUTIES AT THIS
LOCATION BUT DEPUTY PITFIELD STOOD OUT. THE OTHER DEPUTIES JUST
STOOD AROUND TALKING TO EACH OTHER OR THEY WOULD GO INTO A J.P
MOBILE TRAILER PARKED NEARBY AND MOST DID NOT COME OUT AGAIN

UNTIL THE PARADE ARRIVED.

DEPUTY PITFIELD , ON THE OTHER HAND, REMAINED ON HIS
ASSIGNMENT EVER VIGILANT AND AWARE OF WHAT WAS GOING ON
AROUND HIM. HE WOULD STOP ANYONE CARRYING A GLASS CONTAINER
AND TAKE THE CONTAINER AND THROW IT INTO A GARBAGE DRUM
NEARBY. IF HE SAW SOME ONE DOING SOMETHING THAT COULD RESULT IN
INJURY TO THEMSELVES OR OTHERS, HE TOOK IMMEDIATE ACTION. WHEN
SOME ASKED HIM ANY QUESTIONS, HE ANSWERED EACH OF THEM VERY
POLITLEY AND PROFESSIONALLY. AS PREVIOUSLY STATED, I WAS VERY
IMPRESSED WITH THIS DEPUTY. HE WAS OUT THERE TO PROTECT AND TO

SERVE AND THAT IS EXACTLY WHAT HE WAS DOING. HE IS CREDIT TO YOUR
DEPARTMENT AND I HOPE YOU PASS THIS COMPLIMENT ON TO HIM. WE
NEED MORE DEPUTY CHAD PITFIELD’S ON THE STREETS OF JEFFERSON

PARISH.

SINCERELY,

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